Case 2:17-cv-06709-MWF-GJS Document 157 Filed 02/09/21 Page 1 of 1 Page ID #:3487


                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA                      JS-6

                              CIVIL MINUTES—GENERAL

   Case No. CV 17-6709-MWF (GJSx)                      Date: February 9, 2021
   Title:   April Kittel v. City of Oxnard, et al.
   Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

             Deputy Clerk:                             Court Reporter:
             Rita Sanchez                              Not Reported

             Attorneys Present for Plaintiff:          Attorneys Present for Defendant:
             None Present                              None Present

   Proceedings (In Chambers): ORDER ENTERING FINAL JUDGMENT IN
                              LIGHT OF NINTH CIRCUIT MANDATE

          On January 15, 2021, the Ninth Circuit issued an unpublished memorandum
   affirming the Court’s grant of summary judgment in favor of the two remaining
   defendants in this action, Defendants Blayne Liparoto and Advantage Physical
   Therapy. (See Docket No. 155); (id. at 2 n.1) (explaining that Plaintiff filed the appeal
   prematurely before final judgment had issued and while the claims against the City of
   Oxnard and Sylvia Paniagua were still pending, but treating the Court’s grant of
   summary judgment in favor of Defendants Blayne Liparoto and Advantage Physical
   Therapy as the functional equivalent to a final judgment because all other claims had
   since settled). The Ninth Circuit also affirmed the Court’s denial of Plaintiff’s request
   for leave to file a third amended complaint, and the Court’s decision not to award
   attorneys’ fees and costs. (See id.).

          On February 8, 2021, the Ninth Circuit issued its formal mandate. (Docket No.
   156). In light of the Ninth Circuit’s mandate and memorandum, no claims remain in
   this action. Accordingly, the Court enters final judgment in favor of Defendants
   Blayne Liparoto and Advantage Physical Therapy, and against Plaintiff.

           This Order shall constitute notice of entry of judgment pursuant to Federal Rule
   of Civil Procedure 58. Pursuant to Local Rule 58-6, the Court ORDERS the Clerk to
   treat this order, and its entry on the docket, as an entry of judgment.

         IT IS SO ORDERED.

   ______________________________________________________________________________
                            CIVIL MINUTES—GENERAL                              1
